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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

GASTRO DOMONIQUE DENNIS,                          )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )           No. 4:18-cv-00821-AGF
                                                  )
DENNIS SMITH, et al.,                             )
                                                  )
                                                  )
                Defendants.                       )

                                MEMORANDUM AND ORDER

        This matter comes before the Court on review of plaintiff Gastro Domonique Dennis’

amended complaint pursuant to 28 U.S.C. § 1915. For the reasons discussed below, plaintiff will

be directed to file a second amended complaint.

                                           Background

        At the time relevant to this complaint, plaintiff was a pretrial detainee at the St. Francois

County Jail in Farmington, Missouri. (Docket No. 1 at2). On May 5, 2018, he filed a civil action

pursuant to 42 U.S.C. § 1983. (Docket No. 1 at 1). The complaint named St. Francois County Jail

Administrator Dennis Smith, Assistant Jail Administrator Hardy White, and Nurse Heather

Smith as defendants. (Docket No. 1 at 2). The defendants were named in their individual and

official capacities.

        Plaintiff’s complaint stated that during July, August, and September 2016, while at the St.

Francois County Jail, he wrote several grievance forms to Jail Administrator Smith and Assistant

Administrator White complaining about being housed with federal inmates. He claimed that

being a pretrial detainee around federal inmates posed an “unreasonable risk.”
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       According to plaintiff’s complaint, in September 2016, he was physically assaulted by ten

to fifteen inmates while in E Pod. He alleged that he was brutally beaten, burned with hot water,

and sexually assaulted. When he was finally able to break free from the cell in which he was

restrained, he attempted to reach an emergency button located sixty feet away. (Docket No. 1 at

3). Approximately thirty feet from the button, the federal inmates began beating him over the

head with a mop ringer. However, another inmate pushed the emergency button, summoning

assistance.

       Plaintiff stated that a sheriff’s deputy responded to the emergency button and led him into

the hall, covered in blood, where he collapsed. He was taken to defendant Heather Smith, the

booking nurse, and told her that he had been beaten, burned, and sexually assaulted. Nurse Smith

told plaintiff that he needed to take a hot shower to wash away the blood, so that she could see

his injuries. Plaintiff protested that he had been burned. Nurse Smith, however, advised him that

he needed to shower or refuse medical attention. Plaintiff stated that he vomited before entering

the shower and then lost consciousness, waking on the floor with staff standing over him. Nurse

Smith took him to medical and gave him ibuprofen. Plaintiff alleged that staff placed him “in the

hole in booking” and kept him there for days, where the lights never went off and he had only

hot water to drink.

       Plaintiff told his defense attorney about the physical assault in the St. Francois County

Jail. He stated that his attorney filed a motion with the court for the jail to produce video

surveillance, logs, and relevant documentation. (Docket No. 1 at 4). An investigator for his

attorney also took photos and gathered statements from Jail Administrator Smith and Assistant

Administrator White. Plaintiff stated that Judge Wendy Lynn Wexler Horn sustained his




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attorney’s motion to preserve evidence, but denied a motion directing St. Francois County Jail to

produce video surveillance, logs, and documentation.

       Plaintiff alleged that he received no response from the police report he made or from the

grievances that he filed. Furthermore, he asserted that defense attorney Sarah Jackson, Judge

Horn, head prosecuting attorney Jerrod Mahurin, and assistant prosecuting attorney Pat King, all

turned a “blind eye.”

       Plaintiff claimed that the physical assault he endured constituted a violation of his right to

be free from cruel and unusual punishment, and also constituted deliberate indifference to his

medical needs. He sought an injunction ordering St. Francois County Jail to have body cameras

on all staff, distress buttons in all cells, staff in the pods for twenty-four hours a day, a better

medical provider, and a prohibition on pretrial detainees and federal inmates being placed

together. (Docket No. 1 at 6). Plaintiff also requested $500,000,000 in compensatory damages

and $500,000,000 in punitive damages against each defendant, jointly and severally.

       On January 23, 2019, plaintiff was directed to file an amended complaint. (Docket No.

7). The Court noted that plaintiff had made serious allegations that could potentially survive §

1915 review if properly pled. However, plaintiff’s initial complaint was deficient in that it did

not demonstrate defendants’ liability. Specifically, plaintiff had not shown a “causal link to, and

direct responsibility for, the alleged deprivation of rights.” See Madewell v. Roberts, 909 F.2d

1203, 1208 (8th Cir. 1990).

       The Court explained that with regard to Jail Administrator Smith and Assistant

Administrator White, plaintiff appeared to be asserting a failure to protect claim. However, while

plaintiff concluded that he was placed in a dangerous situation, he presented no factual

allegations that Smith and White failed to take reasonable measures to protect him from violence



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by other prisoners. See Patterson v. Kelley, 902 F.3d 845, 851 (8th Cir. 2018) (stating that “prison

officials violate the Eighth Amendment only when they exhibit a deliberate or callous

indifference to an inmate’s safety”); and Berry v. Sherman, 365 F.3d 631, 633-34 (8th Cir. 2004)

(stating that prison officials must take reasonable measures to guarantee inmate safety and to

protect prisoners from violence at the hands of other prisoners). With regard to Nurse Smith, the

Court observed that plaintiff alleged an objectively serious medical need by detailing the injuries

he received in the assault. However, he had not shown that Nurse Smith disregarded that need or

personally failed to provide him any treatment. See Vaughn v. Lacey, 49 F.3d 1344, 1346 (8th

Cir. 1995) (stating that deliberate indifference can include the intentional denial or delay of

access to medical care, or the intentional interference with treatment or prescribed medication).

       Plaintiff was directed to file an amended complaint pursuant to the instructions set forth

in the Court’s order of January 23, 2019. He was given thirty days in which to file his amended

complaint. Plaintiff complied with this order by filing an amended complaint on February 22,

2019. (Docket No. 9).

                                    The Amended Complaint

       Plaintiff filed his amended complaint on a Court-provided form. He names St. Francois

County Jail Administrator Dennis Smith and Hardy White as defendants. (Docket No. 9 at 2-3).

Smith is sued in his individual capacity while White is sued in his official capacity. He claims to

have been burned and sexually assaulted. (Docket No. 9 at 4). He seeks an injunction ordering

the St. Francois County Jail to have body cameras on all staff, a distress button in the cells, staff

in the pods, and a prohibition on pretrial detainees being placed together with federal inmates.

(Docket No. 9 at 5). Plaintiff also requests $500,00,000 in compensatory damages and




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$500,000,000 in punitive damages against each defendant, jointly and severally. The section of

the Court-form for plaintiff to provide his “Statement of Claim” is entirely blank.

                                               Discussion

         Plaintiff’s amended complaint is deficient because he has not provided a Statement of

Claim. As plaintiff is proceeding pro se, and has presented serious allegations to the Court, he

will be allowed to amend his complaint a second time according to the instructions set forth

below.

         Plaintiff should type or neatly print his second amended complaint on the Court’s civil

rights form, which will be provided to him. See E.D. Mo. L.R. 45 - 2.06(A) (“All actions brought

by pro se plaintiffs or petitioners should be filed on Court-provided forms”). In the “Caption”

section of the Court-provided form, plaintiff should clearly name each and every party he is

intending to sue. See Fed. R. Civ. P. 10(a) (“The title of the complaint must name all the

parties”). Plaintiff should fill out the form in its entirety.

         In the “Statement of Claim” section, plaintiff should provide a short and plain statement

of the factual allegations supporting his claim. See Fed. R. Civ. P. 8(a). Plaintiff should put each

claim into a numbered paragraph, and each paragraph should be “limited as far as practicable to

a single set of circumstances.” See Fed. R. Civ. P. 10(b). Plaintiff should begin by writing the

defendant’s name. In separate, numbered paragraphs under that name, plaintiff should write a

short and plain statement of the factual allegations supporting his claim against that specific

defendant. If plaintiff is suing more than one defendant, he should follow the same procedure for

each defendant.

         It is important that plaintiff allege facts demonstrating the personal responsibility of the

defendant for harming him. See Madewell, 909 F.2d at 1208 (stating that § 1983 liability



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“requires a causal link to, and direct responsibility for, the alleged deprivation of rights”).

Furthermore, the Court emphasizes that the “Statement of Claim” requires more than “labels and

conclusions or a formulaic recitation of the elements of a cause of action.” See Neubauer v.

FedEx Corp., 849 F.3d 400, 404 (8th Cir. 2017).

       If plaintiff names more than one defendant, it is important that he establish the

responsibility of each separate defendant for harming him. That is, for each defendant, plaintiff

must allege facts showing how that particular defendant’s acts or omissions violated his

constitutional rights. It is not enough for plaintiff to make general allegations against all the

defendants as a group. Rather, plaintiff needs to provide the role of each named defendant in this

case, in order that each specific defendant can receive notice of what he or she is accused of

doing. See Topchian v. JPMorgan Chase Bank, N.A., 760 F.3d 843, 848 (8th Cir. 2014) (stating

that the essential function of a complaint “is to give the opposing party fair notice of the nature

and basis or grounds for a claim”).

       Plaintiff must specify whether he intends to sue each defendant in an official capacity, an

individual capacity, or both. The failure to sue a defendant in his or her individual capacity may

result in the dismissal of that defendant.

       After receiving the second amended complaint, the Court will review it pursuant to 28

U.S.C. § 1915. Plaintiff’s failure to make specific factual allegations against a defendant will

result in the dismissal of that defendant. Plaintiff is warned that the filing of a second amended

complaint completely replaces the original complaint. This means that claims that are not re-

alleged in the second amended complaint will be deemed abandoned. See In re Wireless Tel.

Fed. Cost Recovery Fees Litig., 396 F.3d 922, 928 (8th Cir. 2005) (“It is well-established that an

amended complaint supercedes an original complaint and renders the original complaint without



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legal effect”). If plaintiff fails to file a second amended complaint on a Court-provided form

within thirty days in accordance with the instructions set forth herein, the Court will dismiss this

action without prejudice and without further notice to plaintiff.

       Accordingly,

       IT IS HEREBY ORDERED that the Clerk of Court shall provide plaintiff with a copy

of the Court’s prisoner civil rights form.

       IT IS FURTHER ORDERED that plaintiff shall file a second amended complaint on

the Court-provided civil rights form, in accordance with the instructions set forth above,

within thirty (30) days from the date of this order.

       Plaintiff’s failure to timely comply with this order will result in the dismissal of this

case without prejudice and without further notice.

       IT IS FURTHER ORDERED that upon the filing of the second amended complaint, the

Court will review it pursuant to 28 U.S.C. § 1915.

       Dated this 16th day of April, 2019.



                                                  AUDREY G. FLEISSIG
                                                  UNITED STATES DISTRICT JUDGE




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